Case 2:24-md-03113-JXN-LDW           Document 35       Filed 10/17/24     Page 1 of 2 PageID: 956




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   IN RE: APPLE INC. SMARTPHONE                      Civil Action No. 2:24-md-03113
   ANTITRUST LITIGATION
                                                     MDL 3113
   This Document Relates To: All Actions
                                                                        ORDER




  NEALS, District Judge:

         This matter comes before the Court upon the following four groups of motions for the

  appointment of interim co-lead counsel in this Multi-District Litigation: (1) Steve W. Berman of

  Hagens Berman Sobol Shapiro, LLP (“Hagens Berman”), Dena Sharp of Girard Sharp LLP

  (“Girard Sharp”), Christopher A. Seeger of Seeger Weiss, LLP (“Seeger Weiss”), and James E.

  Cecchi of Carella Bryne Cecchi Brody & Agnello, P.C. (“Carella Bryne”; collectively with Hagens

  Berman, Girard Sharp, and Seeger Weiss, “DIP Group 1”) on behalf of direct iPhone purchasers

  (ECF No. 17); (2) Hausfeld LLP (“Hausfeld”) and Susman Godfrey LLP (“Susman Godfrey”;

  collectively with Hausfeld, “DIP Group 2”) on behalf of direct iPhone purchasers (ECF No. 19);

  (3) Schneider Wallace Cottrell Konecky LLP (“Schneider Wallace”), Berger Montague PC

  (“Berger Montague”), Lockridge Grindal Nauen PLLP (“Lockridge Grindal”), and Spector

  Roseman & Kodroff, P.C. (“Spector Roseman”; collectively, with Schneider Wallace, Berger

  Montague, and Lockridge Grindal, “IIP Group”) on behalf of indirect iPhone purchasers (ECF No.

  18); and (4) Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C. (“Kellogg, Hansen”), Korein

  Tillery LLC (“Korein Tillery”), and MoloLamken LLP (“MoloLamken”) (“DAWP Group”) on

  behalf of direct Apple Watch purchasers. (ECF No. 20).

         For the reasons stated in the accompanying Opinion,

                                                 1
Case 2:24-md-03113-JXN-LDW            Document 35       Filed 10/17/24     Page 2 of 2 PageID: 957




         IT IS on this 17th day of October, 2024,

         ORDERED that the DAWP Group’s motion to appoint Kellogg, Hansen, Korein Tillery,

  and MoloLamken as co-lead interim counsel for the putative Direct Apple Watch Purchaser

  Plaintiff Class and McElroy, Deutsch, Mulvaney & Carpenter, LLP as liaison counsel (ECF No.

  20) is GRANTED; and it is further

         ORDERED that the IIP Group’s motion to appoint Schneider Wallace, Berger Montague,

  Lockridge Grindal, and Spector Roseman as co-lead interim counsel for the putative Indirect

  iPhone Purchaser Plaintiff Class and Javerbaum Wurgaft Hicks Kahn & Sinins, P.C. as liaison

  counsel (ECF No. 18) is GRANTED, but the Court RESERVES decision on the request for

  appointment of an executive committee until after supplementary briefing is submitted and

  reviewed by the Court; and it is further

         ORDERED that the Court RESERVES its decision on the DIP Group 1 and DIP Group

  2’s competing motions for appointment as co-lead interim counsel for the putative Direct iPhone

  Purchaser Plaintiff Class (ECF Nos. 17, 19) until after supplementary briefing is submitted and

  reviewed by the Court; and it is further

         ORDERED that, in accordance with the accompanying Opinion, the IIP Group, the DIP

  Group 1, and the DIP Group 2 shall file their supplementary briefings, which shall be no longer

  than ten double-spaced pages, by no later than Thursday, October 31, 2024, and it is further

         ORDERED that upon reviewing the Groups’ supplementary briefings, the Court will

  determine whether oral argument is necessary to address any outstanding issues pertaining to the

  leadership applications.

                                                              s/
                                                              JULIEN XAVIER NEALS
                                                              United States District Judge



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